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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA              :
                                      :       CRIMINAL ACTION
             v.                       :
                                      :       NO. 1:12-CR-323-WSD-ECS
EDWARD K. KIM,                        :


                   GOVERNMENT'S MOTION FOR DETENTION
       Comes now the United States of America, by and through its

counsel, Sally Quillian Yates, United States Attorney, and Joseph

Plummer, Assistant United States Attorney for the Northern District

of Georgia, and pursuant to 18 U.S.C. §§ 3142(e) and (f) moves for

detention for the above-captioned defendant.




1.    Eligibility of Case.

       This case is eligible for a detention order because this case

involves (check all that apply):

 XX         Crime of violence (18 U.S.C. § 3156)

 XX         Maximum sentence of life imprisonment or death

            10 + year drug offense

            Felony,   with two prior convictions in the

            above categories

 XX         Serious risk the defendant will flee

            Serious risk of obstruction of justice
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2.    Reason for Detention.

      The   Court   should     detain     defendant    because      there   are    no

conditions of release that will reasonably assure (check one or

both):

XX          Defendant's appearance as required

XX          Safety of any other person and the community



3.   Rebuttable Presumption.

      The United States (will, will not) invoke the rebuttable

presumption against defendant under § 3142(e).                   (If yes)         The

presumption applies because (check one or more):

            There is probable cause to believe defendant committed

            10 + year drug offense.

XX          There is probable cause to believe defendant committed an

            offense      in   which   a   firearm     was   used,    carried,      or

            possessed under § 924(c).

            Defendant has been charged with a federal offense that is

            described in § 3142(f)(1), and

            (1) defendant has been convicted of a Federal offense

            that is described in § (f)(1)of this section, or of a

            State   or    Local   offense     that    would   been    an    offense

            described in § (f)(1) of this section if a circumstance

            giving rise to Federal jurisdiction had existed;




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XX          (2) the offense described in paragraph (1) was committed

            while defendant was on Federal, State or local probation

            or parole; and



            (3)   A period of not more than five years has elapsed

            since the date of conviction, or the release of the

            person from imprisonment, for the offense described in

            paragraph (1), whichever is later.



            [Circle one] This is an offense involving a minor under

            18 U.S.C. § 1201, or an offense under 18 U.S.C. § 1591,

            2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1),

            2252(a)(2),      2252(a)(3),      2252A(a)(1),   2252A(a)(2),

            2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423 or 2425.



4.    Time for Detention Hearing.

       The United States requests the Court conduct the detention

hearing:

            At the initial appearance.

 xx         After continuance of         3   days (not more than 3) after

defendant is released from state custody.

       The Government requests leave of Court to file a supplemental

motion with additional grounds or presumption for detention should

this be necessary.


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Dated:   this 5th day of October, 2012.



                                   Respectfully submitted,
                                   SALLY QUILLIAN YATES
                                   UNITED STATES ATTORNEY



                                   /s/JOSEPH PLUMMER
                                   ASSISTANT U.S. ATTORNEY
                                   600 U.S. Courthouse
                                   75 Spring Street, SW
                                   Atlanta, Georgia 30303
                                   (404)581-6055
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                         CERTIFICATE OF SERVICE


     This   is   to   certify   that   the   undersigned   has   this   date

electronically filed the foregoing pleading with the Clerk of the

Court using the CM/ECF system which will automatically send email

notification of such filing to the following attorney(s) of record:


                 Matthew Dodge



     This 5th day of October, 2012.




                                  /s/JOSEPH PLUMMER
                                  ASSISTANT UNITED STATES ATTORNEY
                                  joe.plummer@usdoj.gov




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